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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas

                  United States of America                           )
                             v.                                      )
             Bryan Alejandro CHAVEZ-Silva
                                                                     )      Case No.
                                                                     )
                  Kenia ROSAS-Guantos                                )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 December 31, 2021                in the county of                Webb              in the
     Southern          District of            Texas              , the defendant(s) violated:

            Code Section                                                       Offense Description
            18 USC 554                            Did knowingly export or send from the United States, or attempted to export
                                                  or send from the United States, seven hundred and seventy (770) rounds of
                                                  various caliber ammunition, contrary to any law or regulation of the U.S., or
                                                  received, concealed, bought or sold, or in any manner facilitated the
                                                  transportation, concealment, or sale of such merchandise, article or object,
                                                  prior to exportation, knowing the same to be intended for exportation contrary
                                                  to any law or regulation of the U.S.


         This criminal complaint is based on these facts:
Please see attachment A




         ✔ Continued on the attached sheet.
         ’

                                                                                                 /s/ Juan De Arcos
                                                                                                Complainant’s signature

                                                                                         Juan De Arcos Special Agent
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:             01/03/2022
                                                                                                   Judge’s signature

City and state:                          Laredo, Texas                           Christopher dos Santos, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
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                                       Attachment A

I am a Special Agent of the United States with Homeland Security Investigations (HSI) and am
knowledgeable of the following facts:

   1. On December 31, 2021, at approximately 2:35 pm, Bryan Alejandro CHAVEZ-Silva and
      Kenia ROSAS-Guantos, both Mexican citizens, attempted to leave the United States, via
      the Laredo, Texas, Port of Entry Lincoln-Juarez, in a Kia sedan bearing Mexican license
      plates. CHAVEZ-Silva, the driver of the vehicle, gave a negative oral declaration to a U.S.
      Customs and Border Protection Officer (CBPO) who was conducting outbound operations.
      The negative declaration was for weapons, ammunition and currency in excess of more
      than $10,000.00 U.S. Dollars.

   2. CHAVEZ-Silva stated he was shopping in Laredo, Texas and was traveling back to Nuevo
      Laredo, Tamaulipas, Mexico. CHAVEZ-Silva claimed ownership of the vehicle. While at
      primary inspection, a CBPO officer observed a box that contained a tricycle on the rear
      seat of the vehicle. The CBPO inspected the box and observed a box of ammunition
      concealed within the tricycle box. All occupants and the vehicle were referred to the
      secondary inspection area.

   3. A further inspection of the box with the tricycle revealed twelve (12) boxes of various
      caliber ammunition. All ammunition boxes were discovered concealed inside the box that
      contained the tricycle.

   4. Homeland Security Investigations (HSI) special agents (SAs) responded to the POE and
      interviewed both subjects. CHAVEZ-Silva and ROSAS-Guantos were read their Miranda
      Rights, and both stated they were willing to answer questions.

   5. CHAVEZ-Silva stated he purchased ten (10) of the twelve (12) boxes of ammunition found
      in his vehicle. CHAVEZ-Silva stated he concealed the ammunition boxes within the box
      that contained a tricycle. CHAVEZ-Silva admitted the ammunition was going to be used
      for hunting and/or recreational purposes in Mexico.

   6. CHAVEZ-Silva stated he was aware that it is against the law to attempt to smuggle the
      ammunition from the United States to Mexico. CHAVEZ-Silva stated he does not have,
      nor has he ever applied for a license to export firearms and/or ammunition.

   7. ROSAS-Guantos admitted to purchasing two (2) boxes of ammunition at a local store in
      Laredo, Texas. ROSAS-Guantos stated she observed CHAVEZ-Silva conceal all the boxes
      of ammunition within the tricycle box. ROSAS-Guantos stated she assisted CHAVEZ-
      Silva in taping the box with the tricycle before attempting to leave the United States.

   8. ROSAS-Guantos stated she believed the ammunition boxes were concealed to avoid
      Mexican customs. ROSAS-Guantos believed Mexican customs would seize the
      ammunition because they do not have a hunting permit. ROSAS-Guantos stated she is
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   aware it is illegal to attempt to smuggle firearms to Mexico but did not know the
   ammunition was illegal.

9. ROSAS-Guantos stated she threw away the store bags that contained the receipts for the
   ammunition purchase. ROSAS-Guantos stated she does not have, nor has she ever applied
   for a license to export firearms and/or ammunition.

10. CBPOs discovered twenty (20) rounds of 30-30 caliber, two hundred (200) rounds of .45
    caliber, fifty (50) rounds of .40 caliber, two hundred and fifty (250) rounds of 9-
    millimeter, fifty (50) rounds of .380 caliber, and two hundred (200) rounds of .22 caliber
    ammunition. CBPOs discovered a total of seven hundred and seventy (770) rounds of
    ammunition concealed within the vehicle. The ammunition seized by CBP is listed on
    the Commerce Control list and it is illegal to export without a license and/or declaration.
